         Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 1 of 46




                Grievance-Response on Appeal
FACILITY:              Lansing Correctional Facility

INMATE:                0053454 Bellamy, Ronnie Jr.

GRIEVANCE NO.: NIA

DATE:                  December 9, 2022

FINDINGS OF FACT

The response provided to the inmate by staff at the facility is incorporated herein by reference and
made part of this response.

On appeal, the inmate offers no evidence or argument that suggests that the response rendered by
staff at the facility is wrong.


CONCLUSIONS MADE

The response rendered to the inmate by staff at the facility is appropriate. This is a matter for the
J>arole Board and the courts; we cannot resolve this for you.

ACTION TAKEN

None further.




Darcie Holthaus
SECRETARY OF CORRECTIONS DESIGNEE

cc:    Warden Meyer
       Image: SOCRESP w/attachments

The original response on appeal and all attached documents were mailed to the inmate by way of
United States Mail on - - - - -
                 Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 2 of 46


                          APPEAL OF GRIEVANCE TO SECRETARY OF CORRECTIONS




(Attach grievance report with Principal Administrator's response or explanation why Principal Administrator
is bypassed.)                                                                   ~l:-Z::~~t/ PC C 7
MAIL TO:        Kansas Department of Corrections             Date Mailed: /:}----Z -U£J2 z_
                714 SW Jackson
                Suite 300
                Topeka, KS 66603

Tell the Secretary what you feel the Principal Administrator should have done, and state what action you
believe the Secret~ry should take. (Use e~tra paper_as needed.)   /!._it!}gfE ~               ~
{)jjtft:-,!}Cf le.Al~ (f,'oJ;v(}                      (w'_ r
~ C t r ,At! DF ~                                                 ~-,_. ~~ ~ -- _ __
                                                                  Signature of Inmate


DECISION BY SECRETARY OF CORRECTIONS (to be completed and returned with 20 days)

If applicable - Confidential File No. _ _ __

Date Received in Office of Secretary of Corrections: _ _ _ _ _ _ _ _ _ _ _ _ __

Date of Final Answer: _ _ _ _ _ _ __                 Date Sent to Inmate: _ _ _ _ _R
                                                                                   _E_c.. .E
                                                                                           . .,=-=\VE D
Finding of Fact:
                                                                                             DECO 8 2022

Conclusions Made:                                                                       DOC Facility ManagementArea




Action Taken:




                                                                         Signature of Secretary of Corrections

                                           For D.O.C. Staff Use Only
Type of Response (Item 6b: Code        01, 02, 08 or 09) _ _


DC 090, Effective May 1, 1988
              Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 3 of 46




MEMO




    DATE: 11/27/2022             \\
      TO: Bellamy, Ronnie# 53454 - l o ~
                                                "~~
    FROM: Chandler Cheeks / Warde~          1




 SUBJECT:     Grievance



Finding of the Facts: Your grievance was received and an investigation into your allegations
has been completed.

Conclusion: You are not allowed to grieve the Classification decision making process per
KAR 44-15-101.

KAR 44-15-101 (a)(d)(2) states "the grievance procedure shall not be used in any way
as a substitute for, or as part of, the inmate disciplinary procedure, the classification
decision making process, the property loss or personal injury claims procedure, or the
procedure for censorship of publications specified in the secretary's internal
management policy and procedure."

Therefore, the statute prohibits the use of the grievance procedure to address this concern.

Actions Taken: No further action needed

IMPP 11-106A Ill. 3: within 72 hours after receiving a custody classification, the offender may
appeal the decision to the warden by submitting the appeal though the unit team counselor on
a form 9.
        a. If the warden did not participate in the custody classification decision, the Warden
           must review the decision and the offenders written appeal and return a written
           response to the offender within 15 days of receipt.
        b. If the warden was a participant in the custody classification decision, the offender's
           appeal must be forwarded to the Deputy of facility management or designee for
           review who must return a response to the offender within 15 days of receipt.
        c. The decision of the warden or deputy secretary or designee is final.
                   Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 4 of 46


                                                    Ol? CORRECTIONS INMATE GRIEVANC~                                                        1
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 been affectc! ;u1d ,,,·Loi'! y,rn l;,"'!ie\/,· 1   \Varden should take.) Use additional paper if neces'.:ary. /\TTACfI DOCUtv1fN
 TATION OF .1\r:''TFtVIP'l'\ '!' lNl·OJd,/i!\L RESOUJ:fON PRIOR TO FILING TH1S FORlVfAL GRIEVANCE (i.e. l"urrn
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 Date t]fr.; report \Vas                                                                                         intnate). //~



 UNff T'EAlVl_RES_PONS~~ (Complete                    and return to rnmate within 10 calendar days.)

      I have investigated your concerns outlined in the attached grievance. 44-15-101 Grievance Procedure; Informal Resolution;
      formal levels; (b) states, 'Before utilizing the grievance procedure, the inmate shall be responsible for attempting to reach an
      informal resolution of the matter with the personnel who work with the inmate on a direct or daily basis. An inmate in a facility
      or parole setting shall contact the unit team members for the attempt at informal resolution. You are encouraged to wait for the
      informal resolution prior to submitting the grievance. You need to submit an informal on a form 9 not the grievance form. Your
      can present your concerns to the parole board when you see them. No further action eemed necessaiy at this time

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Date Receiv.c::d                                                                                Dc1te Returnen                  !'.)   i1umtic




Irm1:ite\ Si,0:natun·                                        Date      Unit Team Signature                                    Date
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Grievance StTial        umhn

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           Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 7 of 46

                                                                                                       -3
 He is currently on an indeterminate sentence with an early PE date in 2024 but the projected is 2030 to
ysee the board. At this time he does not have an out date or a date that he will roll from his
i ndeterminate to his determinate sentence. Those 2 cases won't even start until the PRB rolls him to
 that determinate sentence at which time he will have an out date.

4/01/10: Upon review determined that sentences imposed in 9607CR481 &
9608CR626 were ordered to run concurrent to one another, however,
consecutive to the indeterminate sentence. Crimes committed in
9607CR481 & 9608CR626 were committed while in prison. -mis
                        Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 8 of 46




                                                       INMATE REQUEST TO STAFF MEMBER



     To:                                                                                                            Date:
           ------  ---------------
                (Name and Title of Officer or Depa1tment)



                    Unit Team, Detail, or Cellhouse Officer's Signature                                                To be retained by inmate




     Form9
     For Cellhouse Transfer
~---W0rlEAssignmentc-::...---=----=----=----=----------=--.c...=~---~                                                             Last Name Only



             Ll
     Interview Requests

                  /\;ti ~        ~rt, KANSAS DEPARTMENT OF CORRECTIONS
                                                                                                                                      Number

     To,5!..GJjeJJl!K Cs44flstf;Q=                        i:~o::~-F-=--~---9_.~_}_-
                    (Name and Title of Officer or Department)
                                                                                                             E_;_[).__(_ _ _ _ _ _ __
                          State completely but briefly the problem on which you desire assistance. (Be specific.)




     Work Assignment: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Living Unit Assignment:                                    /i - ?=--- -J--0 ~
     Comment:                                                                    Detail or C.H. Officer: _ _ _ _ _ _ _ _ _ _ _ _ __




     To:                                                                                                              Date: - - - - - - - - - -
           --------------------
                           (Name & Number)


     Disposition: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                        Employee's Signature                                                                                To be returned to inmate.
    P-0009
                  Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 9 of 46


                                                INMATE REQUEST TO STAFF MEMBER



To: - - - - - - - - - - - - - - - - - - - -
                (Name and Title of Officer or Departm ent)
                                                                                                            Date•   [JJ/::aat:r :)
            Unit Tea m, Detail, or Ce llhouse Officer's Signature                                              To be retained by inmate




Form 9
For Ce llhouse Transfer
Work Assignment _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                 Last Name Only
Interview Requests

                                            KANSAS DEPARTMENT OF CORRECTIONS


                                                                                                                               Number
                                .        INMATE REQUEST TO STAFF MEMBER
ToS&uff#C~ C/JJ'f!lutW:t!JN U/J:Ct
            (Name and Title of Officer or Department)
                                                                             Date:_£=- d;
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                                                                                                           bL~' - - - -
                  State completely but briefly the problem ~n which you desire assistance. (Be specific.)




WorkAssignm ent: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ LivingUnitAssignrnent:                                 A ~ /Od-
Comment:                                                                 Detail or CH. Officer:       Ge ( St2t111n




To: - - - - - - - - - - - - - - - - - - -                                                                     Date    c;sI 27 [?..,l
               (Name & Number)


D ispos ition : _ _ _ _ _ _ __ __ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                 Employee's Signature                                                                                To be returned to inmate.
P-0009
                   Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 10 of 46




                                                                                                                             Number
                                         INMATE REQUEST TO STAFF :MEMBER
                                                                               Date:           3_.- /1-~0'9.-D
               (Nam and Title of Officer or Department)
                    State completely but briefly the problem on which you desire assistance. (Be specific.)




                                     ~
Disposition:




To:                                                                                                           Date: _ _ _ _ _ _ __
                      (Name & Number)




P-0009b
             Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 11 of 46



                            KANSAS DEPARTMENT OF CORRECTIONS                           Page      1
                                  INMATE DATA SUMMARY

 Admitting Facility: Topeka Correctional Facility - RDU                 Report date: 10/26/2021
 Type of admission: New court commitment                              Date admitted:  6/10/1991

                                     COM:MITMENT DATA

 Commitment Name (LAST, First, Middle, Suffix)            KDOC Number:                     0053454
 BELLAMY,RONNIE,A,JR
 True Name (LAST, First, Middle, Suffix)                  KBI No.:                     00612779
 BELLAMY,RONNIE ALLEN JR                                  FBI No.:                    545533DA0
 Alias(es) (LAST, First, Middle, Suffix)                  Date of Birth:             05/28/1969
 BELLANY,RONNIE                                           Place of Birth:
                                                          MARSHALL                          MO US

                                      SENTENCE DATA
 Guidelines Indicator: A                                       Guidelines Mos to Serve:   40
 Months Due Prior Sent:                                        Days Due Prior Sent:
 Total Months to Serve:     832                                Total Days to Serve:
 Total Off-Grid Term:                                                           Yrs Mos Dys
                                                               KPB Penalty:

Summary comments
4/01/10: Upon review determined that sentences imposed in 9607CR481   &
9608CR626 were ordered to run concurrent to one another, however,
consecutive to the indeterminate sentence.  Crimes committed in
9607CR481 & 9608CR626 were committed while in prison. -mls
8/5/11: Because offender committed crime after 7/1/93 and before
7/1/08 in prison, once paroled from indeterminate to determinate
sentence, post release is based on determinate case. JAS/scu

  -------------------------------Primary Determinate Data Items------------------------------
                             Mo Da Year                                            Mo Da Year
  Sentence Begins Dt:                                      Earliest Release Date:
  Projected Release Dt:      11 9 2026                     Latest Release Date:
  Current Release Date:                                    Earliest Sent Dsg Dt:
  Projected Sent Dsg Dt:                                   Latest Sent Dsg Date:
  Current Sent Dsg Dt:                                                        Yrs Mos Dys
        Earliest PCRD:                                     Delinquent Time:
       Projected PCRD:                                     Escape Time:
         Current PCRD:                                     Days of Jail Credit:




 VICTIM NOTIFICATION REQUIRED: Yes
 DETAINER:
 COM:MENTS:

                                                                                   Photo




                                       (Continued)
               Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 12 of 46



                              KANSAS DEPARTMENT OF CORRECTIONS                           Page      3
                                    INMATE DATA SUMMARY

   Admitting Facility: Topeka Correctional Facility - RDU                 Report date: 10/26/2021
   Type of admission: New court commitment                              Date admitted:  6/10/1991

    Commitment Name (LAST, First, Middle, Suffix)            KDOC Number:                 0053454
    BELLAMY,RONNIE,A,JR

                                  IDENTIFYING INFORMATION

    Last address prior to incarceration:                  Occupation:
      1409 SOUTH 55TH, APT 11
      KANSAS CITY                     KS   66106-0000

    Identifying Marks/Tatoos
      Body Part      Location                               Detail
      Arms           RIGHT UPPER                            PLAYING CARD READING R.B.
      Legs           LEFT KNEE                              SCAR
      Legs           RIGHT UPPER & LOWER                    TRIBAL
      Torso          BACK                                   MEDICINE WHEEL W/EAGLE CLAW,2 LINES,N
      Torso          RIGHT CHEST                            PLAYBOY BUNNY
      Torso          RIGHT UPPER BACK                       DOG, LYNN

                                      FAMILY HISTORY


                                   DETAINER INFORMATION

    Warrants/Detainers                     Warrant No.              Date Issued   Date Withdrawn
Cole Co. MissouriJefferson City             153388                  08/27/1991       00/00/0000

                                    ESCAPE INFORMATION

    -------------------------------------------r-----------------------------------------------
                                 Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 13 of 46



                                                              INMATEREQUESTTOSTAFFMEMBER
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        To:   °/4vJM fJ/l!JJ                 teco~o~ ti6f- ;(0,/2.A.
                                 (Name and Title of Officer or Department)
                                                                                                                            Date:   :J- /f- 8-DJ-1
                                                                                                                                          At, ~IL/-
                            Unit Team Member Signature                                                                         To be retained by Inmate

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                                           <_-e_ )- Stt//otr:PvJG A,a-1e~                       .
     Form 9                               (f)-- df!Jff ./Jf5.J?Jt(f,i.1{%        ~ t (~ r/f
'       For Cellhouse Transfey~                               .   b'.         .,,         .                                         //'                 1
    I   Work Assignment           {_A}/M/tfl}/.1/£ /!.lflf?JJt5-f/})                                                                                  Last f-fame Only
l       Interview Requests
~
~                                                         KANSAS DEPARTMENT OF CORRECTIONS
{~
~               ffuoo;vr OFJ'prfoJ'AJJ{fj;?{)d .4fr--,F!J. L'-~4-                                                                                               Number
~               /      .                               INMATEREQUESTTOSTAFFMEMBER
        To: h{}tJ/!'IJS          0.&w mJJ1-as-
                            (Name and Title of Officer or Department)
                                                                        £/C--t-/itJ.ll.4-Date~'------S---'lr'-----~-'_o-_(- - - - - -
                                  State completely but briefly the problem on which you desire assistance. (Be specific.)




        Work Assignment: _ _ _ _ _ _ _ _ _ _ _ _ Living Unit Assignment: --'t1,
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                                                                                                  Sr _ t)
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        Comment:                                                                    UnitTeamMembers Signature:               la l ~@CA-:f':::e:VJ

        Disposition:        -1t>~-l              k~s                    l-~~..,,c._)          -1-o     ~      ~~sk_             ~     -   A/J,,,-et
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                                                                                                                            fPUL          ,l}. /c.


        To: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                      Date:
                     (Name & Number)


        Disposition:       &At              /idA              ;, s dhk                   s;e.~



        P-000
                p-            Employee's Signature
                                                                                                                                                            \

                                                                                                                                          To be returned to inmate.
                     Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 14 of 46


                                                      INMATE REQUEST TO STAFF MEMBER · ·



To: _   _ _ _ __ _ _ _ __                           _ _ _ _ _ _ __
                        (Name and Title of Officer or Department)



                    Uni t Team Membe r Signature                                                                     To be retained by Inmate




Form 9
For Cellhouse T ransf1tt.i,-_                                   ,/.A
Work Assignment
Interview Requests
                          iftoij}ti1JrAJ           or b:JW .- L Lfdtff;:rct4;.C0/V
                                                                       1
                                                                                                                                      Last Name Onl y


                                                   KANSAS DEPARTMENT OF CORRECTIONS

                                                                                                                                                Number
                                               INMATE REQUEST TO STAFF M~MBER
To:(if         ttU-, ~
                    (Name and Title of Officer or Department)
                                                                                     Date: ~3 -      1~-_&_od-_l_ _ _ __
                          State completely but briefly the problem on which you desire assistance. (Be specific.)




Comment: _ _ _ _ _ __ _ _ _ _ _ _ _ Unit Team Members Signature: _ _ _ _ _ _ _ _ _ _ __



Disposition:

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To: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                              Date: _ _ _ _ _ _ _ __
              (Name & Number)



Disposition: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                       Employee 's Signature                                                                                To be returned to inmate.
P-0009b
                                         Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 15 of 46




. . ,.         t-       C:1- 2-12-----131-64 - -                Peralta-Garibo;-~lias - - - 4/-1-7/202-+-----+---- i;leeker--------Yes-----l---------l
         -   - - ~~ C1~2i4===~6184L ~-----··- iLv_e~on,-cAlto.n=~---~                                          -      _____ Je_eke _ __                                 - ~~
              --   -   --   - ·-   ··-·· -       ..   --- -         -   ·-·--- - -   ------ -     .   -    .   -·-·   ---   ---     -   --- -
                        Cl 216 -                        53397     Johnson, Ricky                 7/20/2021                        Fleeker       - - Yes -   Radio #24

                        Cl 218                         106427    Sanders, Brandon                4/9/2021                     Howland            MED ISO      TV #58
                                     -       .


                        Cl 220
                        Cl 222                         114333    Boettcher, Ayron                6/25/2023                        Cheak
                        Cl 224                         103240     Chavez, Marvin                 10/1/2021                    Mcclane                         TV#56

                        Cl 226                          67435     Mccaleb, Jason                11/23/2044                        Cheak
                                                                                                                                                              Broke

             -+         Cl 228                          96426      Elliott, Robert               4/26/2021                    Howland                        TV#28
                                                                                                                                                             2/2021
                        Cl 230                         111230   Nambo, Christopher               7/14/2021                        Sherrill
                                                                                                 9/28/2021                    Howland

             +          Cl 234
                        Cl 236
                                                        95678
                                                        87383
                                                                  Kennon, Joshua
                                                                  Shanklin, Daniel
                                                                                                 5/19/2025
                                                                                                 9/19/2021
                                                                                                                                  Fleeker
                                                                                                                              Mcclane               Yes
                                                                                                                                                            Radio #4


                        Cl 238
                        Cl 240                          53454     Bellamy, Ronnie                5/18/2030                        Fleeker
                                                                                                                                                            Radio #29
                        Cl 242                          42587    Brandewie, Brett                9/1/2021                         Fleeker        MED ISO     missing
                        Cl 244                          42697     Plunkett, Albert                                            Mcclane
                                                                                                                                                            Broke radio
                        Cl 246                         118655     Rigney, Michael               PE 11/1/2020                  Howland
                                                                                                                                                               9/20
                        Cl 248                          88835    Venturella, Adam                3/19/2022                        Fleeker
                        Cl 250                         113736     Ferguson, Louis                                             Mcclane
                                                                                                                                                            Broke Radio
                                                        75058   Vanhouten, James                          H50                     Cheak             Yes
                                                                                                                                                              3/2020


®                       Cl 258
                                                       102148
                                                       109652
                                                        88082
                                                                 Deanda, Joaquin
                                                                   Anyit, Majok
                                                                   Huey, Darnell
                                                                                                  PE 2058
                                                                                                 7/25/2031
                                                                                                 1/4/2022
                                                                                                                                  Fleeker
                                                                                                                                  Fleeker
                                                                                                                                  Fleeker
                                                                                                                                                    Yes



                        Cl 260                         114766    Hernandez, Omar                      Feb-30                      Fleeker
                        Cl 262                                      Bell, Joshua                 9/27/2021                    Howland




                            BCH                                  Thurman, James                  5/2/2023                         Cheak
                             INF                                  Baker, Thomas                  PE 2021                Madgwick
                             INF                       48167     Albright, Arthur               1/31/2039               Madgwick
                             INF                      113525       Hall, Adrian                 3/11/2031                   Howland
                                                Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 16 of 46




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-- ·-. . - -+ --Cl---212--- --1-37-64---- ----Peralta-Gar:iborEliaS----- -4/17/202
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                        ·Cl 216 --                                  53397                                                  Johnson, ·Ricky                                                                                                       Fleeker                     Yes ·                          Radio #24

                          Cl 218
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                          Cl 220
                          Cl 222                                  114333                                                Boettcher, Ayron                                               6/25/2023                                                 Check
                          Cl 224                                  103240                                                  Chavez, Marvin                                               10/1/2021                                            Mcclane                                                            TV#56

                          Cl 226                                    67435                                                 Mccaleb, Jason                                             11/23/2044                                                  Check
                                                                                                                                                                                                                                                                                                               Broke

           t              Cl 228                                    96426                                                   Elliott, Robert                                            4/26/202i                                           Howland                                                            TV#28
                                                                                                                                                                                                                                                                                                              2/2021
                          Cl 230                                  111230                                            Nambo, Christopher                                                 7/14/2021                                                 Sherrill
                                                                                                                                                                                       9/28/2021                                           Howland

          +               Cl 234
                          Cl 236
                                                                    95678
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                                                                                                                         Shanklin, Daniel
                                                                                                                                                                                       5/19/2025
                                                                                                                                                                                       9/19/2021
                                                                                                                                                                                                                                                 Fleeker
                                                                                                                                                                                                                                            Mcclane                          Yes
                                                                                                                                                                                                                                                                                                            Radio #4


                          Cl 238
                          Cl 240
                                                                                                                                                                                                                                                                                                             Radio #29
                          Cl 242                                    42587                                               Brandewie, Brett                                                 9/1/2021                                                Fleeker                 MED ISO                              missing
                          Cl 244                                    42697                                                 Plunkett, Albert                                                                                                  Mcclane
                                                                                                                                                                                                                                                                                                           Broke radio
                         Cl 246                                  118655                                                  Rigney, Michael                                           PE 11/1/2020                                            Howland
                                                                                                                                                                                                                                                                                                              9/20
                         Cl 248                                    88835                                               Venturella, Adam                                                3/19/2022                                                 Fleeker
                         Cl 250                                  113736                                                   Ferguson, Louis                                                                                                   Mcclane
                                                                                                                                                                                                                                                                                                          Broke Radio
                                                                   75058                                              Vanhouten, James                                                          H50                                              Check                       Yes
                                                                                                                                                                                                                                                                                                            3/2020
                                                                 102148                                                 Deanda, Joaquin                                                   PE 2058                                                Fleeker                     Yes
                                                                 109652                                                      Anyit, Majok                                              7/25/2031                                                 Fleeker
                         Cl 258                                    88082                                                    Huey, Darnell                                               1/4/2022                                                 Fleeker
                         Cl 260                                  114766                                                Hernandez, Omar                                                      Feb-30                                               Fleeker
                    - Cl262                                        74134                                                  - Bell, Joshua                                               9/27/2021                                           Howland




                            BCH                                                                                       Thurman, James                                                  5/2/2023                                               Check
                             INF                                 39280                                                  Baker, Thomas                                                   PE 2021                                     Madgwick
                             INF                                48167                                                  Albright, Arthur                                             1/31/2039                                       Madgwick
                             INF                               113525                                                        Hall, Adrian                                           3/11/2031                                          Howland
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                                                                                            INMATE REQUEST TO STAFF MEMBER
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                                                                                                                                                                                                                         ..
              To:      /'4/
                                               (Name and Title of Officer or Department)                                                                                                  .;.•



     _r                                 Unit Team, Detail, or Cellhouse Officer's Signature
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              Form 9                   \"':
              For Cellhouse Transfer                                                                                                                  I    1j:fL•
                                                      P"•  ..
              Work Assignment_--===------=·~ - - - - - - - - - - - - -,                                                                                    r          I                                                                         Last Name Only
                                                                                                                                                               r
              Interview Requests      ..,¥                                                                                                                 rl
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                                                                                   KANSAS .DEP ARTMElNT OF CORRECTIONS
                                                         L.                                                                                                               I   _-

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                                                     -~                                                                                                                                                                                              Number
                                                                                  INMATE REQUEST TO STAFF MEMBER
                                                  ,,_.If"".~.
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                                                                                       ;I
                                        (Name and Title of Officer or Department)
                                              State completely but briefly the problem on which you desire assistance. (Be specific.)
              ,1   I




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             Disposition:




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                                                                                            Alpha (within Cellhouse & Unit) List of LCF-C                        Sort Option: U
                                                                                              Inmates Housed in A Cellhouse/Living Unit                              Cellhouses: A B D

 NOTE: In the PS (Proqram Status) col.umn, a Doubl.e Asterisk (**) or •p•               (Pending Credit) Indicates that. the Inmate is
        Currentl.y in a Proqram and Rel.ease Dates may change at any time. WATCH RELEASE DATES!
                                                                                                                                     Mng.                                                               Proj PGM
                                                                 Race/                                     KPB       Review   Inc   Mnagd   MH    MED   Worker              I-State G Projected         Credit Rel           LSIR
Ti.er Cell    ------Offender Name------         KDOC#           Ethnic   Sec   Assignment (s)             Decision     Mo     Lvl   as so   LVL   CLS    Type               Compact I Release DT TYP    Date PPCRD PS       Score

A72   09     ADKINS, WILLIAM, GREGORY          0088349          White    MAX   UNIT A PORTER                         Sept      2     No      5     2      Gen                       D 04 05 2025 PGR    04/05/2025 C           34
                                                                               TRU 2

A71   21     ANTRIM, WILLIAM, M     ----..     0097713    -     White    MAX   UNIT A PORTER
                                                                               TRU 2
                                                                                                                     Sept      3     Yesv   5      2     Lim                        I   11 16 2082 PE                         24



A72   20     ARMSTRONG,JAMES,L                 0095688          Black    LMD   MAX HOURLY LAUNDRY                    May       3     Yesv    4     2     Lim                        D 10 02 2035 PGR                          40
                                                          -
A72   01     AUGUSTINE, KRISTOFFER, RYAN       0113156          White    MAX   LAYIN-CAUSE MAX                       Aug      1     No      5      2     Gen                        D 11 10 2024 PGR    07/10/2024 N          33
                                                                               TRU 2

A72   17     BAILEY, JESSE, LEE, III           0124522          Black    MAX   TRU 2                                 Oct      2     No      5      1     Gen                        D 05 24 2024 PGR    01/24/2024   **       45

A72   23     BARKERS,LADARIOUS,RACQUEZ         0115821          Black    MAX   TRU 2                                 July     1     No      5     2      Gen                        D 05 11 2031 PGR                          36

A71   15     BARRINGTON,BRANDON                0103591          White    MAX   TRU 2                                 Sept     2     No      5     1      Gen                        D 01 17 2023 PGR    09/17/2022 N          33
                                       -                  ~                                                --~
A71   02     BASS, MCCLINTON         --        0119341          Black    HMD   LAYIN-NO WORK AVAIL MAX
                                                                                                           ---       Feb      0     Yes     4     3      Lim                        D 05 19 2029 PGR    01/19/2029 N          36

A72   39     BELLAMY,RONNIE,A,JR               0053454          White    MAX   TRU 2                                 April    3     No      5     2      Gen                        A 11 18 2030 PE                           19
                                                                               LAYIN-MEDICAL MAX

A72    33    BENNETT,ALLEN,C
                                    ~-         0101959
                                                          -     White    MAX   TRU 2                                 Jan      1     Yes     5     2      Lim                        D 03 03 2034 PGR                          33

A72   03     BETHEL,MICHAEL,A                  0072912          White    MAX   TRU 2                                 Sept     3     No      5     2      Gen                        I   02 07 2100 PE                       No LSIR
                                                                               UNIT A PORTER

A71   07     BITNER, ALAN, L                   0030561          White    MAX   TRU 2                                 April    3     No      5     2      Gen                        I   03 01 2027 PE                         23

A72   28     BOETTCHER, AYRON, PHILLIP         0114333          Indian   MAX   TRU 2                                 Oct      1     No      5     1      Gen                        D 06 29 2024 PGR    02/29/2024 N          44

A71   16     BULLARD,JERRY,LEE
                     ~
                                               0125456
                                                          -     White    MAX   TRU 2                                 June     3     Yes     5     3      Lim                        D 02 14 2026 PGR                          32

A71   11     BURGESS,NICOLAS,RAFFAELE          0112503          White    MAX   TRU 2                                 None     1     No      5     2      Gen                        D 09 10 2022 PGR                          38

                                                                White          TRU 2                                 Nov      2     No      5     1      Gen                        D 05 20 2024 PGR    01/20/2024 N




                                                                                       ---------
A72   12     CHAPMAN, CHRISTOPHER, DAVID       0098067                   MAX                                                                                                                                                  33

A71   21     CLARK,TIMOTHY,R                   0050323          White    MAX   TRU 2                                 Aug      3     No      5     3      Gen                        D 01 22 2024 PGR    09/22/2023 N          19
                                                          -
                                                                                       --------------
A72   00     COLLINS,JOSHUA,DOUGLAS            0083716          White    MAX   TRU 2                                 Jan      3     Yes     5     2      Lim                        D 09 29 2028 PGR                          29
                                                          ...
A71   03     COTTON,JOSHUA,R                   0118060          White    MAX   TRU 2                                 Nov      3     NoOv    5     2      Gen                        D 02 10 2025 PGR    10/10/2024 N          29
                                           -
A72

A72
      11

      25
             CRAIN,ARTHUR,LEE,III

             DIXON, LELAND, FLOYD
                                               0089919

                                               0104117
                                                          -
                                                          -     Black

                                                                Black
                                                                         MAX


                                                                         MAX
                                                                               TRU 2

                                                                               TRU 2
                                                                                       ---------------
                                                                                       ---------------
                                                                               INTEGRATIVE WORK PROGRAM
                                                                                                                     March

                                                                                                                     May
                                                                                                                              3

                                                                                                                              3
                                                                                                                                    Yes

                                                                                                                                    No
                                                                                                                                            5

                                                                                                                                            5
                                                                                                                                                  1

                                                                                                                                                  2
                                                                                                                                                         Lim

                                                                                                                                                         Gen
                                                                                                                                                                                    D 04 25 2034 PGR

                                                                                                                                                                                    D 04 28 2030 PGR
                                                                                                                                                                                                                              33

                                                                                                                                                                                                                              34



A72   31     DONALDSON, MATTHEW, TRACY         0103068          White    MAX   TRU 2                                 Nov      2     No      5     1      Gen                        D 04 16 2023 PGR    12/16/2022 N          38
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       7 /20/22           9:38:18                                                          KANSAS DEPARTMENT OF CORRECTIONS                               PGM-ISR0058A/B                                      PAGE     34

                                                                                     Alpha (within Cellhouse & Unit) List of LCF-C                        Sort Option : U
                                                                                       Inmates Housed in A Cellhouse/Living unit                              Cellhouses: A B D

 NOTE: In the PS (Program Status) column. a Double Asterisk(**) or •p• (Pending credit) Indicates that the Inmate is
       currentl.y in a Program and Release Dates may change at any time . WATCH RELEASE DATES!
                                                                                                                 Mng .                                                                             Proj PGM
                                                          Race/                                     KPB       Review   Inc   Mnagd   MH    MED   Worker              I-State G Projected           Credit Rel       LSIR
Tier Cell    ------Offender Name-- - -- -    KDOC#       Ethnic   Sec   Assignment (s)             Decision     Mo     Lvl   as SO   LVL · CLS    Type               Compact I Release DT TYP      Date PPCRD PS   Score

A 71   00   EDWARDSON, ROBERT               0124453      White    MAX   DINING ROOM PORTER-MAX                Oct             Yes                  Lim                      D 12 18 2023 PGR                         No LSIR
                                                                        TRU 2

A72    13   FELLERS,BRIAN,NELSON            6003270      White    MAX   LIBRARY CLERK                         Aug            Yes                  Lim                       D 11 07 2029 PGR       07/07/2029 N        39
                                                                        TRU 2

A 71   07   FLETCHER, JAMES, M              0117782      White    MAX   TRU 2                                 July           Yes      5           Lim                        I   08 14 2042 PE                         15

A71    09   FOLLIN, RICK, D                 0061393      White    MAX   LIBRARY CLERK                         June           No                   Gen                       I    02 08 2074 PE                       No LSIR
                                                                        TRU 2


A72    15   FORREST, DEANDRE, MASHAWN       0120851     Black     MAX   TRU 2                                 Oct            No       5           Gen                       D 03 25 2023 PGR       11/25/2022 N        35
                                                                        HRG

A72    01   FOSTER,JOHN,B                   0071996     White     MAX   TRU 2                                 June           Yesv    5            Lim                       D 04 OB 2025 PGR                           21

A72    14   GARDNER,MONZEAL,ZURIEL          0076466     Black     MAX   TRU 2                                 June           No       5    1      Gen                       D 09 25 2027 PGR                           37

A72    12   GARLAND, RICHARD, GLENN         0071077     Black     MAX   TRU 2                                 June           Yes     5            Lim                       D 01 16 2028 PGR                           30

A12    38   GASPER,JONATHAN,G               0112713      Black    MAX   LAYIN-CAUSE MAX                       Oct            No      5            Gen                       D 11 08 2022 PGR       11/08/2022 C        15
                                                                        UNIT A PORTER
                                                                        TRU 2

A71    23   GODFREY,KODY,SHANE              0066381     White     MAX   TRU 2                                 Oct            No      5            Gen                       I 11 08 2031 PE                            36

A72    10   GREEN,MICHAEL,E                 0097132     White     MAX   TRU 2                                 Sept           No                   Gen                       D 12 14 2033 PGR       12/14/2033 C        35

A72    31   GUILFORD,DANAJOHN,BOYD          0100116     White-H MAX     LAYIN-NO WORK AVAIL MAX               Oct            No      4            Gen                       D 10 14 2022 PGR                           34

A72    06   GUTHRIE, DAVID, E               0079333     White     MAX   TRU 2                                 March          Yes     5            Lim                       D 05 12 2028 PGR                           38

A7 2   10   HAMILL, KYLE, WILLIAM           0116360     White     MAX   TRU 2                                 Nov            No            1      Gen                       D 09 22 2024 PGR       05/22/2024 N        43

A72    37   HAMILTON, GERALD                0083066     Black     MAX   LAYIN-NO WORK AVAIL MAX               None           Yes                  Lim                       A 10 01 2022 PE                            26
                                                                        TRU-SUPPORT WORK PROG

A72    16   HANNAH,PERRY,E                  0104566     White     MAX   TRU 2                                 July           Yes                  Lim                       D 10 27 2025 PGR                           30

A72    36   HARRINGTON- BOOTH, JAMES, C     0114801     White     MAX   LAY IN CAUSE - CV MAX                 None     1     No      5            Gen                       D 08 26 2022 PGR                           21
                                                                        TRU 2

A71    19   HAYNES, WILLIAM, J              0007818     Black     MAX   TRU 2                                 May            No      5            Gen                       D 04 24 2026 PGR                           40

A72    13   HELM, JOHN, DAVID               0099022     White     MAX   TRU 2                                 Oct            Yes     5            Lim                       D 06 06 2026 PGR                           35
                                                                        INTEGRATIVE WORK PROGRAM

A72    26   HERMOSILLO,JOHN,S               0069620     White     MAX   UNIT A PORTER                         Sept           No      5            Gen                       I    05 1 7 2 024 PE                     No LSIR
                                                                        TRU 2
                                                                 Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 20 of 46



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                                                                                                       Alpha (within Cellhouse & Unit} List of LCF-C
                                                                                                         Inmates Housed in A Cellhouse/Living Unit

           NOTE: In the PS (ProQram Status) column, a Double Asterisk (**) or •p• (Pending credit) Indicates that the Imnate is
                                                                                                                                                                            PGM- I SR005BA/B

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                                                                                                                                                                                 Cellhouses: A B D
                                                                                                                                                                                                                               PAGE     35




                 CUrrently in a Proqram and Release Dates may chan9:!: at any time. HATCH RELEASE DATES!
                                                                                                                            Mng.                                                                                    Proj PGM
                                                              Race/                                    KPB    Review Inc Mnagd                         MH    MED   Worker               I-State G Projected         Credit Rel       LSIR
          Tier Cell  ------Offender Name------  KDOC#        Ethnic Sec Assignment (s)               Decision   Mo    Lvl as so                        LVL   CLS    Type                Compact I Release DT TYP    Date PPCRD PS   Score




                                                                                                                    -----
          A72     29   HERNANDEZ, JESUS, M             0124693            White-H HMD    LAYIN-NO WORK AVAIL MAX                  Oct      3    Yes     5     1      Lim                        D 06 07 2028 PGR                        31
                                                                   ~




          A71     OB   HIGGENBOTHAM, CHESTER, L        0055553            White    MAX   TRU 2                                    April    3    No     5      2     Gen                         A 11 11 2075 PE                       No LSIR
                                                                  -
          A71     06   HODGES,JOHN                     0036314            Black    MAX   TRU 2                                    Oct      3    Yes    5     3      Lim                         I   06 05 2038 PE                       35

          A72     02   HOLLIGER, DEVIN, DANIEL         0114196            White    MAX   TRU 2                                    Feb      3    Yes    5     2      Lim                         D 04 09 2027 PGR                        16

          A72    34    HOTTMAN, JASON, WILLIAM         0086617            White    MAX   TRU 2                                    Dec      3    No     5     1      Gen                         D 07 18 2050 PGR                        27




                                               -
          A72    18    HOWELL, JEFFERY, D              0030929            White    MAX   TRU 2                                    Jan      2    NoOv   5     2      Gen                         D 08 26 2039 PGR                        43
                                                                   ~



          A72    19    HUNTLEY,BRENT                   0085029            White    MAX   LAY IN CAUSE - CV MAX                    None     1    Yes    5     2      Lim                         D OB 11 2022 PGR                        33
                                                                                         TRU 2
                                                                                           .L
          A71     00   ISHLER, JACOB, G                0114797     ~
                                                                          White    MAX   TRU 2                                    March    3    Yes    5     1      Lim                         D 12 29 2030 PGR                        25
                                            ....----              -
          A71    14    JACK, KENNETH,M                 0109365            Black    MAX   UNIT A PORTER                            None     2    Yes    5     2      Lim                         A 03 01 2023 PE
                                            --------
                                                                                                                                                                                                                                        25
                                                                  -                      TRU 2
                                                                                         LAYIN-MEDICAL MAX


  ____,   A71     17   JEFFERIES, CURTIS, L            0108113            Black    MAX   TRU 2                                    Sept     3    Yes    5     2      Lim                         D 04 09 2025 PGR                        21

          A71     06   JETER, KEVIN
                                                  ~


                                                  ~
                                                       6006695
                                                                  -~



                                                                          White   MAX    TRU 2
                                                                                                                          :::::
                                                                                                                                  :-' av   .,   Yes    5     2      Lim                         D 09 04 2043 PGR                        29
                                                                  =
          A72    21    JOHNSON,DARRYLN,MICHAEL         0102583            Black   MAX    HANDICAP AIDES                           June     3    Yes    5     2      Lim                         D 07 16 2028 PGR    03/16/2028 N        27
                                                                                         TRU 2

          A72    11    JONES,MICHAEL,DEON              0087009            Black   MAX    LAYIN-CAUSE MAX                          April    1    No     5     2      Gen                         A 01 24 2042 PE                         40
                                                                                         TRU 2




                                                                                                                     ---
          A71    18    JONES,ROBERT,W                  0052798            Black   MAX    TRU 2                                    March    3    Yesv   5     2      Lim                         I   99 99 9999 CR                       24

          A72    29    KING, DAQUARIAN, JADAKISSA      0126802   -~




                                                                          Black- IrMAX   TRU 2                                    May      1    Yes    5     2      Lim                         D 11 16 2025 PGR    07/16/2025 N      No LSIR

          A71    04    KIRKLAND, DEREK             -   0124102    -       White   MAX    TRU 2                                    Aug      3    Yes    5     3      Lim                         A 08 18 2042 PE                       No LSIR

          A72    25    LEE,CLEVELAND,LAVELL            0077035            Black   MAX    MAX BARBER SHOP                          Aug      3    No     5     1      Gen                         D 11 20 2027 PGR                        31
                                                                                         Basic Education

          A72    22    LUALLEN,BRETT,A                 0105491
                                                                 ---      White   MAX    TRU 2                                    Sept     3    Yes    5     1      Lim                         D 08 18 2028 PGR                        29

          A72    08    MARTINEZ, ALSTON, JAMES         0122297            Black   MAX    TRU 2                                    May      2    Yes    5     1      Lim                         D 04 20 2026 PGR

                                                                                                     ______________
                                                                  ,...,                                                                                                                                                                 21

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          A72    33    MARTINEZ, ARMANDO, JR           0080186            White-H MAX    TRU 2                                    Sept     1    NoOv   5     2      Gen                         D 10 11 2023 PGR    06/11/2023 N        45
                                                   ~             ~




                                                  -~             -
                                                                                                 ---------------
          A72    08    MATHENIA,ROBERT,M               0104405            Black   MAX    TRU 2                                    Feb      2    Yes    5     1      Lim                         D 03 03 2030 PGR                        31

          A72   . 07   MATTHEWS,JOSHUA,K               0105040            White   MAX    TRU 2                                    Nov      1    No     4     1      Gen                         D 11 05 2035 PGR    07/05/2035 N        31




~"'
                                                       Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 21 of 46



      7/20/22             9:38 :18                                                            KANSAS DEPARTMENT OF CORRECTIONS                            PGM-ISR0058A/B
                                                                                                                                                                           £x1-1:tZff~~                            36

                                                                                       Alpha (within Cellhouse & Unit) List of LCF-C                      Sort Option: U
                                                                                         Inmates Housed in A Cellhouse/Living Unit                            Cellhouses: A B D

 NOTE: In the PS (Proqram Status) column, a Double Asterisk (**) or •p• (Pending credit) Indicates that the Inmate is
       Currently in a Proqram and Release Dates may change at any time. WATCH RELEASB DATES!
                                                                                                                  Mng.                                                                          Proj PGM
                                                    Race/                                  KPB      Review Inc Mnagd                MH     MED   Worker              I-State G Projected        Credit Rel       LSIR
Tier Cell  ------Offender Name------  KDOC#        Ethnic sec Assignment (s)             Decision     Mo    Lvl as SO               LVL    CLS    Type               Compact I Release OT TYP   Date PPCRD PS   Score

A71   01   MCCLELLAND, KYREE, M              0072921        Black    MAX   TRU 2                               Sept     2    No        5    1     Gen                       A 09 06 2031 PE                        43

A71   20   MCREYNOLDS, BRANDON, ANTOIN       0085863        Black    MAX   ARAMARK HOURLY                      May      2    No     5       2     Gen                       A 08 13 2025 PE                       35
                                                                           TRU 2

A71   22   MILLER, ROBERT, DANIEL            0071575   -    White    MAX   HANDICAP AIDES                      June     3    Yes    5      2      Lim                       D 01 24 2042 PGR                      30
                                                                           TRU 2

A71   09   MILLIGAN, JOHNNY, L               0076883        White    MAX   HANDICAP AIDES                      Nov      3    Yes    5      2      Lim                       D 04 21 2024 PGR                    No LSIR
                                                                           TRU 2

A71   05   MITCHELL, LEPAUL, D               0067686        Black    MAX   HANDICAP AIDES
                                                                           TRU 2             ----------        J an     3    Yes    5      2      Lim                       I   99 99 9999 CR                     41



A71   12   MITCHELL , THOMAS,ANTHONY         0083196
                                                       -    Black    MAX   HANDICAP AIDES
                                                                           TRU 2
                                                                                                               Dec      3    YesV   5      1      Lim                       D 12 10 2027 PGR    0B/10/2027 N      37



A71   12   MULLENDORE,RANDALL,KENT           0104410   ~    White    MAX   TRU 2   ~                           May      3    Yes    5      3      Lim                       I   10 28 2036 PE                     39

A72   06   MUNJAK, JASON, MURRAY             0103178   "'   White    MAX   TRU 2                               Oct      3    No     5      3      Gen                       A 01 25 2032 PE                       45

A72   05   MURPHY, GEORGE, HOWARD        -   0123498        White    MAX   ARAMARK HOURLY                      Dec      3    Yesv   5      1      Lim                       D 11 03 2025 PGR                      26
                                                                           TRU 2


                                     ---               -
                                                                                            ----------
A71   01   NOBLITT,JERRY,LEE                 0067560        White    MAX   TRU 2                               Sept     2    Yes    5      2      Lim                       D 11 23 2022 PGR    07/23/2022 N      29

                                     --
                                                                                            ---------------
A71   04   NORTH, SHAWN, B                   0105832        White    MAX   UNIT A PORTER                       Sept     3    Yes    5      2      Lim                       D 04 19 2030 PGR                      36
                                                                           TRU 2

A72   05   OYLER, JUSTIN, A
                                     -       0118688
                                                       -    White    MAX   TRU 2   ~                           April    3    Yes    5      1      Lim                       I   04 15 2063 PE                     23

A72   35   PIERCE,JUSTIN,DAIN                0081957        Black    MAX   UNIT A PORTER
                                                                           TRU 2
                                                                                            ---------------    Jan      3    Yesv   5      2      Lim                       D 02 01 2032 PGR    10/01/2031 N      36



A72   04   PIERCE,MAURICE, W                 0060919        Black    MAX   TRU 2                               Sept     1    No     5      3      Gen                       I   OB 01 2023 PE                     28




                                                                                            ------------
A71   OB   PIOLETTI, RANDY, D                0039725        Indian   MAX   TRU 2                               Dec      3    No     5      2      Gen                       I   11 01 2027 PE                     23

A72   20   PIPE , EDWARD, D
                                  ~-         0103290   -    Black    MAX   ARAMARK WORKER                      Nov      2    Yes    5      1      Lim                       I 11 02 2033 PE                       33
                                                                           TRU 2

A72   27   RANGEL,JESSE,J                    0088452        White    MAX   TRU 2                               March    1    No     5      2      Gen                       I   04 14 2031 PE                     34

A72

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A72
      24

      16

      30
           REDICK, ANDREW, CHARLES

           REED, JOHNNY, DOYLE

           RIDDLE, MARK
                                     --
                                             0084933

                                             0126484

                                             0094373
                                                       -
                                                            Black-H MAX

                                                            White

                                                            White
                                                                     MAX

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                                                                                                                                                                                                07/21/2022 N
                                                                                                                                                                                                                  33

                                                                                                                                                                                                                No LSIR

                                                                                                                                                                                                                  46
                                                         Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 22 of 46



      7/20/22            9:38:18                                                                 KANSAS DEPARTMENT OF CORRECTIONS

                                                                                           Alpha (within Cellhouse & Unit) List of LCF-C
                                                                                             Inmates Housed in A Ce11house/Living Unit
                                                                                                                                                              PGM-ISR0058A/B

                                                                                                                                                              Sort Option: u
                                                                                                                                                                               ----
                                                                                                                                                                  Cellhouses: A B D
                                                                                                                                                                                                                  PAGE     37




 NOTE: In the PS (PrOQralll Status) colunm, a Double Asterisk (**) or •p• (Pending Credit) Indicates that the Inmate is
       CUrrently in a PrOQralll and Release Dates may chan~ at any time. WATCH RELEASE DATES!
                                                                                                                    Mng.                                                                             Proj PGM
                                                      Race/                                  KPB      Review Inc Mnagd                 MH    MED     Worker             I-State G Projected          Credit Rel         LSIR
Tier Cell  ------Offender Name------    KDOC#        Ethnic Sec Assignment (s)             Decision     Mo    Lvl as so                LVL   CLS      Type              Compact I Release DT TYP     Date PPCRD PS     Score

A72   26   RIDLEY,JACOB,J                      0103379         White    MAX   UNIT A PORTER     ---               Aug       3   Yes     5        2     Lim                      D 02 21 2042 PGR                           30
                                                                              TRU 2

A71   23   RILEY, ROCKY, EUGENE                0109995         White    MAX   TRU 2                               Aug      2    NoOv   5     3        Gen                      D 08 03 2023 PGR      08/03/2023 C          42
                                                                                      -~
                                                                                      ~
                                          ~



A71   10   ROGERS, CLINTON, WAYNE              0082706         White    MAX   TRU 2                               Nov      2    Yes    5     3        Lim                       I   01 24 2075 PE                          20
                                          -               --                          ~
A72   09   ROOP,BRANDON,L                      0125717         White    MAX   TRU 2                               Sept     3    Yesc   5     1        Lim                      D 09 11 2024 PGR      05/11/2024 N        No LSIR
                                                                                                ---5
A72   21   SINGLETARY,MARQUES,AN               0125661         Black    MAX   UNIT A PORTER                       Oct      2    No     5     2        Gen                      D 05 07 2026 PGR      01/07/2026 N        No LSIR
                                                                              TRU 2

A71

A72
      22

      23
           SPEAR,EDWARD,A,III

           STEWART,CARLOS,DONNOVAN
                                               0070579

                                               0109437
                                                          -    White

                                                               Black
                                                                        MAX


                                                                        MAX
                                                                              TRU 2

                                                                              UTILITY WORK CREW 13-MAX
                                                                              TRU 2
                                                                                                         ----     March

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A72   38   STEWART,MAURICE,ORLANDO             0089064         Black    MAX   TRU 2                               Jan      3    No     5     2        Gen                      A 07 07 2030 PE                             38
                                                          -
A72   02   STOREY,TERRY,LEE,II                 0112084    ~
                                                               White    MAX   TRU 2                               July     3    Yes    5     2        Lim                      D 11 01 2027 PGR                            41

A71   18   SYKES, MICHAEL, ANTHONY             0036240         Black    MAX   TRU 2                               July     3    No     5     3        Gen                      I    10 01 2C?.9 PE                       No LSIR

A71   13   TATE, PERVIS, JR                    0033803    -    Black    MAX   TRU 2   ~_s,,____.?,-               Oct      1    YesV   5     2        Lim                      I    09 01 2025 PE                          27
                                                          ~
A72   19   THOMAS,MATTHEW,ROBERT               0080566         White    MAX   TRU 2                               Sept     1    No     5     2        Gen                      D 11 25 2022 PGR      11/25/2022 C          38

A72   17   THOMPSON,CHRISTEPHOR,KEIO           0126711         Asian    MAX   TRU 2                               May      1    No     5     1        Gen                      D 06 25 2029 PGR                          No LSIR

A72   00   TURNER , JONATHAN, A     ....._,_   0115067
                                                          --   White    MAX   TRU 2   ~- -                        March    3    Yesv   5     2        Lim                      I    11 30 2040 PE                          20
                                         -
A72   32   UNREIN,PATRICK,WT,II                0065333         White-H MAX    LAYIN-CAUSE MAX                     June     1    No     4     2        Gen                      D 07 08 2031 PGR                            42

                                                          -
A72   30   VANDUESEN,BENJAMIN,ALAN             0126301
                                                          -
                                                               Indian   MAX   TRU 2
                                                                                      ------==:JJ                 Jan      2    Yes    5     2        Lim                      D 03 14 2032 PGR                          No LSIR




                                                                                                ---------
A72   27   WEAVER,DALTON,TYLER                 0112321         White    MAX   TRU 2                               Nov      1    No     5     2        Gen                      D 10 05 2023 PGR                            25
                                       ~

                                                          -
A71   10   WEBER,CODY,GATES                    0125492         White    LMD   ARAMARK HOURLY                      Aug      2    Yes    4     l        Lim                      D 09 04 2027 PGR                            25

A72   22   WINZENRIED,NATHANIEL,B              0114625
                                                          --
                                                               White    MAX   TRU 2             ----      ~
                                                                                                                  Dec      3    Yes    5     2        Lim                      D 11 08 2034 PGR      07/08/2034   **       21

A71   14   YATES, MICHAEL, RAYDELL             0126538         White    MAX   TRU 2                               March    2    Yes    5     2        Lim                      D 01 30 2028 PGR      09/30/2027 N        No LSIR

A72   15   YEBRA, ANDRES, CHARLES              0124854         Black    MAX   TRU 2                               Oct      3    No     5     1        Gen                      D 04 08 2023 PGR      12/08/2022 N        No LSIR



           A7 Total     105
                     Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 23 of 46




               ,                                                                                                            ~-3_
Form ·9
For Cellhouse
Work Assignment
Interview Requests
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                                      :~~ KANSAS DEPARTM                       O        RRECTIONS                       53i5 j(
                                                                                                                                             Number
                                               INMATE REQUEST TO STAFF MEMBER
                                                                                D~te:           3--- /1-/20'9.-D
               (Nam and Title of Officer or Department)
                    State completely but briefly the problem on which you desire assistance. (Be specific.)




Disposition:

                                                                                                                                 (' ·
                                                                                                          -· ---·-   -~ ~   --   --- -




To:                                                                                                             Date: _ _ _ _ _ _ _ __
                          (Name & Number)




P-0009b
                             Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 24 of 46




 orin9
 or Cellhouse Transfer
                                                                    !Ji71f:!P!t_· -z.            ./
                                                                                                                  ~            Last Name Only
 VorkAssignment _ _ _ _ _ _ _ _ _~ _ , J , , , , ~ ~
                                 ,,--
 rrterview Requests

                                               KANSAS DEPARTMENT OF CORRECTIONS
                                                                                                                   5315'-I            Number
                                            INMATE REQUEST TO STAFF MEMBER
fo:   /¼lfJht>--- {)l;:llJ::r:IUGi.               i)sr/i-/c[Mbv (
                 (Name and Title of Officer or Department)
                                                                                  Date:     (b ·     J.. <; - !)_O d- /
                       State completely but briefly the problem on which you desire assistance. (Be specific.)




                                                                ,
Work Assignment:    //IJ«c.11}:r(tf}-/I       4:c,a(!                        Living Unit Assignment:        A -I-- ~ It/         f72U (:] (     t
Comment: _ _ _ _ _ _ _ _ _ _ _ _ _ _ Detail or C.H. Officer: _                                               _ _ _ _ _ _ _ _ __



Disposition:




To:_
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            (Name & Number)


Disposition: -   ~    ~
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                     Employee 's $ignafure                                                                           To be returned to inmate.
P-0009
                      Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 25 of 46



                                                                                                                            Attachment A, IMPP 05-108
                                                                                                                                    Effective 08-07-04

                                      KANSAS DEPARTMENT OF CORRECTIONS

                                                                   DETAINER

DATE: 11/29/2016

NAME: BELLAMY, RONNIE, A. JR                                                                          KDOC NUMBER: 53454

HOLD ORDER REQUESTED FROM; Missouri Department of Corrections
                               County/Sheriff Name

                                                   3400 Knipp Drive, Jefferson City. MO 65108
                                                        Address

153388
WarranVCase1N1:Jmber:

Escape from Missouri Dept of corrections
CrimeNiolation

     X                FELONY

                      MlSDEMEANOR

                      NOTJFICATION ONLY

                      JUDGMENT _                                                                                    t/ {IJ
                      SEXUALLY VIOLENT PREDATOR CIVIL COMMlTMENT DETAINER                                            &f
                      UNITED STATES MARSHAL'S SERVICE

                      UNITE




Distribution:         Central Office
                      Master File (Facility)
                      Inmate
                      Originating Authority
                      /PO

Form #05-108-001
(You have the right to request dispositiorl of any untried criminal lndictment, lnfonnation or complaint filed against you In any district court In this state
pursuant to KSA 22-4301. You have the right to request disposition of any untried criminal indictment, lnfonnation or complaint filed against you In any
other state or with the Federal Court pursuant to KSA 22-4401).


                                                                   TAB L-4/DETAINER
                Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 26 of 46




                                                                           500 South Reforma.t.oey
                                                                           Hutchinson, K.a.nsu - i7601
                                                                           Telephone 816 662-2321




                                            RECO

Missouri ftOC                                     RE:     BEU...At,.,1Y, Ronnie A., Jr.
Kansas City Uonor Cari.p
                                                  Your: 153383
919 Oat Street
Kansas City, MO 6410(,                            Our:     5~454


                                                  FBI No. 545 533 DAO



                  Dear Sir:
                        This is to acknowledge receipt of your letter dated R- Z7 - 91
                  together with your Warrant of Arrest which will act as a detainer against
                  the above named subject.
                         Our regular procedure has been established on our records ac-
                  cordingly, and your office will receive our customary notke prior to his
                  release from this institution.
                                                   Yours very truly~




                                                               Record Clerk
       Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 27 of 46




                Missouri                                                                John Aahcroft, Governor

                 DEPARTMENT OF CORRECTIONS                                               Dlc:ll D. Mooft1 DINotor
                 Kansas City Honor Center                                         George A. Lombardi, Director
                 91 9 Oak Strett                                                   01\llaion of Adult lnatltutiona
                 Kansas City, Missouri 64106
                 816-842-7467                                                         K. Schmitz, Superintendent




Al1gust   27,   1991


H~tchinson Correctional Facility
Records Office
P,0,    Box   1568
Hutchinson,      KS     67504-1568


                                                     RE:      BELLAMY,       Ronnie        White/Male
                                                              MOt 153388                   KSt53454


To Whom It May Concern:

The above named subject is wanted by the Missouri         Department     of
Corrections for Failure to return to confinement CRSMO 575,220),
Subject failed to return on 11-11-90 and is        wanted   to    continue
to   serve h is  pres en t  Mis sour i sentence ,    A·t the t i me of h is
e~cape he was ass i gned to the Kansas City Honor Center, 919 Oak,
l<ansas City,   MO    64106   (ORI - M □ 048015C>.   Place a 11 hold 11 for
our department and notify 30 days prior to        release   date    so   we
may make arrangements to pick him up,

Oue  to  his  escape from the Missouri Oepartment of Correction~
and his attempted escape from Kansas authorities, we  request  he
not  be  placed in any minimum ~2curity facility which may enable
him to escape once ~gain.

Per your request attached is the Order for Arrest and   Return  of
Escaped  Prisoner.   If I can be of any further assistance you may
contact me at the above phone number.

Respectf'ullyJ


77/d&I/
Melady Castro
                ~
Records Officer

me

Enclosure

cc:    File 1153388
                            * * AN EO.U.A.\. OPPORTUNITY EMPLOYER* *
                             S•rvlcH provid~ on a Non-dl$crlminatory basis
                         Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 28 of 46




                                                Kansas Department of Corrections
                                                  Account Withdrawal Request
                                                      (Complete One Request per Form)
                                       Attach letter and addressed/stamped envelope when required

 RONNIE ALLEN BELLAMY JR.                                      53454                        LCF-C                             A-1-214               7=14-2021
                 Printed Name                                        Number                            Facility               Unit/Cell Location·      Date

     Please pay the following and charge to my account:
                                                           Outgoc_pq Funds/Donations

                Payable    To: HISTORICAL SOCIETY-RECORDS                                                                           Title of Publication*
                                  Name                                                                                            Frequency- (Circle One)
                                                                                                                             Yearly Monthly Weekly Daily Other

      Check Amount                Address                                                                                Number of issues _ _ _ __
                                                                                                                              Expiration Date _ _ _ __
                                  HUTCHINSON.KANSAS                           67501
                                  City, State, Zip                                                                           Publication Price _ _ _ __

                                TRANSCRIPTS-LEGAL DOCUMENTS                                                                    *Book, Magazine or News Paper
                                                                                                                                      (Per IMPP 11-101)
                                  Purpose/inmate Benefit Fund Group

I request the use of Forced Savings as provided in IMPP 04-103, for:                         D   C_Qlflml,!l1jty Identification,__--~.
                     (Documentation Required)                                          <:/Kcivil FiOng~-~ip~r Subpoena F~
                                                                                             D       Reentry into the Community (Warden's Approval Required)


(To Be Completed by Mailroom)           Postage - (To Be Completed by Inmate)
                                                                                                 To:
                                                                                                       -Name
                                                                                                         ----------------
$                                            D        Postage
     Postage Amount

                                             D        Legal/Official Postage
                                                     (Per KAR. 44-12-601)                                 City, State, Zip          c5t):,L1 ,_

                                             D        Certified
       Verified By                                   (Only it Funds are Available)                        Reason




 Handicraft Approval (If Applicable)        Date                                      Religious Approval (If Applicable)                    Date


                                                                               D     Applies to Outgoing Funds Limit

                                                                               D     Does Not Apply to Outgoing Funds Limit

    Exception Approval                                            Date         D     Use of Forced Savings Approval as requested above


This withdrawal request is being returned for the following reason(s):
      Insufficient Funds                                                                 Payee Missing
      Signature Missing                                                                  Insufficient Address
      Exceeds Spending Limit                                                             Amount Missing
      Incentive Level                                                                    Name/Number - Do Not Match
      Envelope/Order/Stamp Missing
      Unauthorized Per IMPP/KAR _ _ _ _ __                                           + , Illegible.lrf)rmatio:9'
                                                                                         Other
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            Account Processor                                                 Date Withdrawn
                          Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 29 of 46



                                                Kansas Department of Corrections
                                                  Account Withdrawal Request
                                                   (Complete One Request per Form)
                                   Attach letter and addressed/stamped envelope when required

 ;:~ON!.HE ALLEN                            .JR                                                                                                  /=-14-2021
                Printed ~Jame                                      Number                         Facility                 Unit/Cell Location        Date

     Please pay the following and charge to my account:
                                                          Q_utgoing Funds/Donations

                Payable To:                 ICAL SOCIETY•=                            s                                           Title of Publication*
                                 Name                                                                                          Frequency - (Circle One)
                                                                                                                          Yearly Monthly Weekly Daily Other
$ L~O 00                         100                             UT STREET
     Check Amount                Address                                                                              Number of Issues _ _ _ __

                                 HUTCHINSON,KANSAS                                                                         Expiration Date _ _ _ __
                                                                            67501
                                 City, State, Zip                                                                         Publication Price _ _ _ __

                                TRANSCRIPTS-LEGAL DOCUMENTS                                                                 *Book, Magazine or News Paper
                                                                                                                                   (Per IMPP 11-101)
                                 Purpose/Inmate Benefit Fund Group

I request the use of Forced Savings as provided in IMPP 04-103, for:                        D   Com[!~
                     (Documentation Required)                                        C,_ig., Ci~j- Fili1:.9, T r a n s c r i 1 2 , ~
                                                                                            D    Reentry into the Community (Warden's Approval Required)


(To Be Completed by Mailroom)          Postage -- (To Be Completed by Inmate)
                                                                                                To:
                                                                                                      -!\lame
                                                                                                          -------------
$                                           D        Postage
     Postage Amount                                                                                   --Address

                                            D        Legal/Official Postage
                                                    (Pe, KAR. 44-12-601\                               City, State, Zip

                                            D        Certified
       Verified By                                  (Only if Funds are Available)                      Reaso11




 Handicraft Approval (If Applicable)       Date                                      Religious Approval (If AppiicablA)                  Date
                                                                                                                                                _,_____ -7
                                                                              D     Applies to Outgoi:1g Funds Limit

                                                                              []    Does Not Apply to Ouigoing Funds Limit                                    I
    Exception Approval                                           Date         D     Use of Forced Savings Approval as requested above                         i
                                                                                                                                                  ~----~--"-.i,
This withdrawal request is being returned for the following reason(s):

      Insufficient Funds                                                                  Payee Missing
      Signature Missing                                                                   Insufficient Address
      Exceeds Spending Limit                                                              Amount Missing
      Incentive Level                                                                     Name/Number - Do Not Match
      Envelope/Order/Stamp Missing                                                        Illegible Information
      Unauthorized Per IMPP/KAR _ _ _ _ __                                                Other
                                                                                                -------------



             Account Processor                                                Date Withdrawn                              Acct. Use
                                                                                                                                                          1504a
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           1       Delusional disorder (F22)
           2       Unspecified Personality Disorder (F60.9)




          7/10/19

  ----   Assessment/Diagnosis
          Behavioral Health Dia nosis
         r.·



                   Personality disorder, unspecified (F60.9)
               2   Adjustment disorder with anxiety (F43.22)

MENTAL HEALTH CARE IS SUBJECT TO THE SAME CONSTITUTIONAL STANDARDS AS OTHER
FORMS OF PRISON MEDICAL CARE;DELIBERATE INDIFFERENCE TO SERIOUS MENTAL HEALTH
NEEDS VIOLATES THE 8TH AMENDMENT.·
GATES V.COOK,376 F.3d 323,343 (5TH CIR.2004)
DOLIHITE V.MAUGHON BY AND THROUGH VIDEON,74 F. 3d 1027,1042-43(11TH CIR.1996)
SMITH V.JENKINS,919 ·F.2d 90,92-93 (8TH CIR.1990)
LANGLEY V.COUGHLIN,888 F.2d 252,254 (2D CIR.1989)
COORTS HAVE CITED AN EXPERTS DEFINITION OF A SERIOUS MENTAL ILLNESS AS ONE THAT
HAS CAUSED SIGNIFICANT DISRUPTION IN AN INMATES EVERYDAY LIFE AND WHICH PREVENTS
HIS FUNCTIONING IN THE GENERAL POPULATION WITHOUT DISTURBING OR ENDANGERING
OTHERS OR HIMSELF ... ACUTE OR SERIOUS DEPRESSION CONSTITUTES A .SERIOUS MEDICAL
NEED,AS ARE THREATS OR RISKS OF SUICIDE.COURTS INADDITION HAVE HELD OR ASSUMED
THAT MANIC-DEPRESSIVE,BI-POLAR,EXCESSIVE COMPULSIVE DISORDERS,POST TRAUMATIC
STRESS DISORDERS ARE SERIOUS NEEDS.
TILLERY V.OWENS F.SUPP. 1256,1286 (W.D.PA.1989);aff'd,907 F.2d 418(3D CIR.1990)
PARTEE V.LANE,528 F.SUPP.1254,1261 (N.D.ILL.1981)
PETERKIN V.JEFFES,661 F.SUPP.895,917 923 (E.D.PA.1987)
CONN.V.CITY OF REN0,572 f.3d 1047,1055 (9TH CIR.2009)
MULTIPLE COURTS HAVE FOUND THE CONFINEMENT OF MENTALLY .ILL PRISONERS IN SEGRE-
GATION TO BE UNCONSTITUTIONAL,NOT JUST IN ITS EFFECTS ON THOSE PRISONERS,BUT:
ALSO INSOFAR AS IT EXPOSES OTHER INMATES TO DANGEROUS OR IERANGED BEHAVIOR.
EXTREMES OF ISOLATION,IN THE FORM OF SOLITARY CONFINEMENT BEHIND· SOLID OR
BOXCAR DOORS,HAVE BEEN HELD UNCOSTITUIONAL.
HOPTOWIT V.RAY,682 F.2d 1237,1257-58 (9TH CIR.1982)
LAMAIRE V.MAASS,745 F.SUPP. 623,636 (D.OR.1990)
GATES V.COOK,376 F.3d 323,342-43 (5TH CIR. 2004)
CORTES-QUINONES V.JIMINEZ-NETTLESHIP,842 F.2d 556,560-61 (1ST CIR.1988)
                   Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 31 of 46


                            APPEAL OF GRIEVANCE TO SECRETARY OF CORRECTIONS

Inmate Name:                           {&/JfW'1 'j:U     /l     Facility:   L-     ,.F -CoeE c~
Inmate Number:      Q!J5'-:St/s-,/                                     ~ .d-D
                                               Grievance Serial No.: //A  . . . . _d,
                                                                                   "'- - '- 3,- , ___,@
                                                                                                      ,~ - - - - - -
(Attach grievance report with Principal Administrator's response or explanation why Principal Administrator
is bypassed.)                                                                    kt:£C1/&,ua! l/
MAIL TO:        Kansas Department of Corrections               Date Mailed:      fc2- d - 9,o .9--f)
                714 SW Jackson                                                        /4 if fiAMtv/4177,.,u/:t:J
                ~~;: a~~s   66603     p(Elf;r fP/4) t!IJ/ffe(((fr~:1~~



DECISION BY SECRETARY OF CORRECTIONS (to be completed and returned with 20 days)

If applicable - Confidential File No. _ _ __

Date Received in Office of Secretary of Corrections: _ _ _ _ _ _ _ _ _ _ _ __

Date of Final Answer: _ _ _ _ _ _ __                   Date Sent to Inmate: _ _ _ _ _ _ __

Finding of Fact:



Conclusions Made:



Action Taken:




                                                                            Signature of Secretary of Corrections

                                           For D.O.C. Staff Use Only
Type of Response (Item 6b: Code        01, 02, 08 or 09) _ _


DC 090, Effective May 1, 1988
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                                                                                                         --......._ )


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                                ..1t3~NSAS DEPARTMENT 0F CORRECTIONS INMATE GRIEVANCE FORM
, I                  AA TE COMPLAINT
        .mate's Namef<o/0rJ.;fk                                         ,4/{!£/1./ B!:hJ/vl                             r~                                                      Number     /{_'gt{5?-l
      Facility                  /!if• 1'!if.Jt (_1/v/l                               Housing Unit                 ?" Yit:/<ll:_f                 /Ip.., Si '4jzl/· ,work Detail _ _ _ _ _ _ __

      NATURE OF COMPLAINT BE SPECIFIC. (Include names, dates, places, rules, regulation, etc.; how you have
      been affected and action you believe the Warden should take.) Use additional paper if necessary. ATTACH DOCUMEN-
      TATION OF ATTEMPTS AT INFORMAL RESOLUTION PRIOR TO FILING THIS FORMAL GRIEVANCE (i.e. Form
      9s or other corres. ponden_ce and.· response from staff member) . ..                                                          Q.• ·</;_··           // ~?1 /! ; ~ _£":._ t'J?-/-'£.S
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      Datf this report was given' to Unit Team for informal resolution (to be completed by inmate).                                                                                         IV d-L
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                                                                                                                                                                                                                     CT',trf-:}-


      UNIT TEAM RESPONSE (Complete and return to inmate within 10 calendar days.)
                 I have investigated your concerns outlined in the attached grievance. Per K.A.R. 44-15-101 a (d) (2) prohibits use of the
                 grievance procedure in any way as a substitute for, or as a part of, the inmate disciplinary procedure, the classification decision-
                 making process, the property loss or personal injury claims procedure, or the procedure for censorship of publications specified in
                 the secretary's internal management policy and procedure. Th§s grievance is in regards to housing which is part of the
                 classification decision making process. No further action deerrted necessary at this time.                     .




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      INMATE RESPONSE (Complete and return to Unit Team within 3 calendar days)
                                I am Si').tisfied with the Unit Team response and wish to withdraw my formal grievance.                                                                             ·
      -~-      I am- not satisfied with the Unit Team response, and wish to forward to the Warden's office. (This must be done
      within 3 calendar days.) Date forwarded to Warden's Office (to be completed by staff). - - - - - - - - - = ~ - - -
        /;--~                                                ______-,---.. -·-··----···· ·•·· ·-· · ·                                                                             k. /-3/-- Z.o ??.__
        (.       ~
      Inmate Signature                                                                                                                                                           Date




      Inmates Signature                                               Unit Team Signature     =--                           Date
      If dissatisfied with this response, the inmate may appeal to the Secretary of Corrections within three (3) calendar days of
      receipt of this decision from the Warden.

      TO BE COMPLETED BY STAFF ONLY
      Grievance Serial Number
      Type of Complaint (Item 4: Code 01-75)
      Cause of Complaint (Item 5: Code 01-30)
      Type of Response (Item 6a: Code 0 1,02,08 or 09)                                                                                               DI
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        r
            6i9/20-Current

            Assessment/Diagnosis
            Behavioral Health Diagnosis

                  Delusional disorder (F22)
            2     Unspecified Personality Disorder (F60.9)




            7/10/19

  --.       Assessment/Diagn~sis
            Behavioral Health Dia nosis
                             t:
            1     Personalrty disorder, unspecified (F60.9)
            2     Adjustment disorder with anxiety (F43.Z2)

MENTAL HEALTH CARE IS SUBJECT TO THE SAME CONSTITUTIONAL STANDARDS AS OTHER
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              Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 38 of 46




MEMO




     DATE:     11/07/2022
        TO:    Bellamy, Ronnie # 53454
    FROM: Chandler Cheeks / Warden

 SUBJECT:      Grievance



Finding of the Facts: Your grievance was received and an investigation into your allegations
has been completed.

Conclusion: You are not allowed to grieve the Classification decision making process per
KAR 44-15-101.

KAR 44-15-101 (a)(d)(2) states "the grievance procedure shall not be used in any way
as a substitute for, or as part of, the inmate disciplinary procedure, the classification
decision making process, the property loss or personal injury claims procedure, or the
procedure for censorship of publications specified in the secretary's internal
management policy and procedure."

Therefore, the statute prohibits the use of the grievance procedure to address this concern.

Actions Taken: No further action needed

IMPP 11-106A Ill. 3: within 72 hours after receiving a custody classification, the offender may
appeal the decision to the warden by submitting the appeal though the unit team counselor on
a form 9.
        a. If the warden did not participate in the custody classification decision, the Warden
           must review the decision and the offenders written appeal and return a written
           response to the offender within 15 days of receipt.
        b. If the warden was a participant in the custody classification decision, the offender's
           appeal must be forwarded to the Deputy of facility management or designee for
           review who must return a response to the offender within 15 days of receipt.
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                          Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 39 of 46
I               '   'l
                                   APPEAL OF GRIEVANCE TO SECRETARY OF
                                                                                        ~~#
                                                                                        ORRECTIONS
     Inmate Name:~~~~"---"'---'b"'="--------'-~ =-----"-----'--.....___ _ _ Facility:                   _D

     Inmate Number:         ()05,'5t(S't(                 Grievance Serial No.:         & ~ ~/IAJ2o'23d'Jte!
                .               ' h P ' . lAd.
     (Attac h grievance report wit rmc1pa
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     is bypassed.)                                                           ~d,,C:Ct.                           r
     MAIL TO:            Kansas Department of Corrections                  Date Mailed:    (~l -C:.OZJ--
                     714 SW Jackson
                     Suite 300
                     Topeka, KS 66603

    Tell the Secretary what you feel the Principal Administrator should have done, and state what action you
    believe the Secre~ry s~ou~d take. (Use extra paper as needed.) ~ ~                            ~ ~~
    .~          A,,&~· ~tf;£:i/&             ·-fi    f/,4V~ /IA'Efl~ME~/J -:46 ~
    ~ ;?2 ~)1/c Af(Of-" :zT- ;Jib?Jf£ ~~ ~
    Je;t,/f:? i/£i/                   Signature of Inmate
                                                          2
                                                            '/Zl!

    DECISION BY SECRETARY OF CORRECTIONS (to be completed and returned with 20 days)

    If applicable - Confidential File No. _ _ __

    Date Received in Office of Secretary of Corrections: _ _ _ _ _ _ _ _ _ _ _ _ __

    Date of Final Answer: _ _ _ _ _ _ __                          Date Sent to Inmate: _ _ _ _ _ _ _ __

    Finding of Fact:



    Conclusions Made:



    Action Taken:




                                                                                         Signature of Secretary of Corrections

                                                    For D.O.C. Staff Use Only
    Type of Response (Item 6b: Code             01, 02, 08 or 09) _ _


    DC 090, Effective May 1, 1988
                                  Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 40 of 46


                          KANSAS DEPAlRTMENT OF CORRECTIONS INMATE GRIEVANCE FORM
                                                                                                           tiftF!!JCI 3

      NA TURE OF' COJV!PLAINT BE SPECIF IC. (Include names, dates , places, rules, re gulation, e tc .; bo w you h::,ve
      been affec t~d and action you believe the \Varden should take.) Use additi onal p aper if necessary . ATTACH DOCUMEN-
      TA.TlON OF ATTD vIPTS AT INFORMAL RESOL U TION PRIO R TO F ILING THIS FORMAL G RIEVANCE (i.e . Form
      9s or other "'#                      dence   andrespon ~    om staff mem ber)f t ~                                                    ·c,




        ·                              /             Ff:          r:J-/J/J6eI~ tJP vJ ~N /#t-;i


      Date thi.s repor t vim: given to Uni t Team f or informal resolution (to be c om ple ted by inmate ).               ~I_  L It:'
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                                                                                                                                                 2:~
                                                                                                                                            '_\./_ _ _



      UT'-JKT }_EAJVK RESPONSE                           (Complete and return to inmate within 10 calendar days.)

              I have investigated your concerns outlined in the attached grievance. 44-15-101 Grievance Procedure; Informal Resolution;
              formal levels; (b) states, 'Before utilizing the grievance procedure, the inmate shall be responsible for attempting to reach an
              informal resolution of the matter with the personnel who work with the inmate on a direct or daily basis. An inmate in a facility
              or parole setting shall contact the unit team members for the attempt at informal resolution. You are encouraged to wait for the
              informal resolution prior to submitting the grievance. You need to submit an informal on a form 9 not the grievance form. No
              further action deemed necessary at this time
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I     _ ____      I am satisfied with 0v: U ni t T'ea.111 response and wi sh to w ithdraw my fo rmal gi·icvance.
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I     ~ ~ ·- I c1.rn nut sDti •:fied with th~ Unit Team response , and wisll to fonvnrd to the \Varckn 's 1)ffice. (This mu .s t be done
I     wi thin :.~ caieniJ.c; r c1::'1 ys 1 D::1 te f _J \~:,trded t •J \Varden's Office (to be completed by staff). _ _ _ _ _ _ __


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      ' VVAI{DIJ·J RE'.SPONSF.                        (Con~tpkte, ;c,.ttach response and return wit hin 10 Vlnrking days .)

      D;:rte Received              NOV 11 1012 . D ftte of Final A nswer NOV 2 7 202Z Date Returned to Inm ate _ _ __ __
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     ~t?e ~ beL&:h,4t/1 · pc_                                      1:J. -;J-ldl.-
      In m ate 's Signature                                       Date      Unit Team Signature                                        Date
      If diss ati sfied w ith this ret~po nse, the inmate m ay appeal to the Secretary of Corrections w ithin three (3) ca len d ar clays of
      rece ip t of th is decision from the Warden .




      G rievan ce Serial Nun1ber

      T ype of Complaint (Irern 4 : Code 01-7.S)

      Cause of Complain t (Item 5: Code 0J-30)

      Type of Response (Item 6a: Co de 01,02,08 or 09)
                       Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 41 of 46


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                          Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 43 of 46


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                                                                                             _,,,-
                                  KANSAS DEPARTMENT OF CORRECTIONS
                       ADMINISTRATIVE SEGREGATION REVIEW (Pursuant to IMPP 20-105/106)


       IZJ Weekley Review
       Name: Bellamy, Ronnie                                    Number: 53454                        Date: 10/31/2022

       Date placed in Segregation: 10/07/2022                                               Recommended date of release: NIA

       Did inmate appear before board?        D Yes    IZJ No
           I.   Present Status: IMPP 20-104 - V. B. Other Security Risk

           2.   Return to General Population?
                         D Yes IZJ No
           3.   Transfer to another Kansas facility or another State or Federal facility?
                         OYes       IZ]No

           4.   Medical or Psychological intervention?
                        OYes      IZ]No

                     a.      Continue   IZJ   Modify   D   program or treatment status?

           5.   Inmate informed ofright to submit written request for release to board?
                         (g!Yes   ONo

           6.   While in segregation inmate's behavior has been satisfactory?
                         (g!Yes    ONo

           7.   Th:~ placement was legal and proper?
                         [Z!Yes    ONo

           8.   A pre-segregation placement hearing was held?
                        ~Yes       ONo

       Board Comments: Offender continues on administrative segregation on OSR status based on EAI investigaiton. He has issues
       and concerns with drugs around him in the pod. Others are after him for drug payment. He was assaulted. The Restrictive
       Housing Review Board agrees the Offender's status should remain OSR for ous · g options.

       Approved:_lL_                Disapproved: _ _

       Approved:   ___tL            Disapproved: _ _

       Approved:~                   Disapproved: _ _

       Approved:     ,,,0           Disapproved: _ _

       Approved:   ____tf_          Disapproved: _ _


       Inmate acknowledgement:
       I received a copy of this review on: - - - - - - - - - - - - - - - - = 2 = 0 = - - - - - At _ _ _ _ _ _ __


                                                                                      Inmate Signature and Number


                                                                                      Signature and Title of Staff
                             Case 5:23-cv-03051-JWL Document 1-3 Filed 02/17/23 Page 44 of 46




   .'   ·/


  6i9 /20-Current

  Assessment/Diagnosis
  Behavioral Health Diagnosis

             Delusional disorder (FZZ)
  2          Unspecified Personality Disorder (F60.9)




  7/10/19

  Assessment/Diagn~sis
  Behavioral Health Dia nosis
                                 icl'
             Personality disorder, unspecified (F60.9)
  2          Adjustment disorder with anxiety (F43.22)

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MEMO




     DATE:     11/18/2022
      TO: Bellamy, Ronnie # 53454
    FROM: Chandler Cheeks / Warden

 SUBJECT:      Grievance



Finding of the Facts: Your grievance was received and an investigation into your allegations
has been completed.

Conclusion: You are not allowed to grieve the Classification decision making process per
KAR 44-15-101.

KAR 44-15-101 (a)(d)(2) states "the grievance procedure shall not be used in any way
as a substitute for, or as part of, the inmate disciplinary procedure, the classification
decision making process, the property loss or personal injury. claims procedure, or the
procedure for censorship of publications specified in the secretary's internal
management policy and procedure."

Therefore, the statute prohibits the use of the grievance procedure to address this concern.

Actions Taken: No further action needed

IMPP 11-106A Ill. 3: within 72 hours after receiving a custody classification, the offender may
appeal the decision to the warden by submitting the appeal though the unit team counselor on
a form 9.
        a. If the warden did not participate in the custody classification decision, the Warden
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           appeal must be forwarded to the Deputy of facility management or designee for
           review who must return a response to the offender within 15 days of receipt.
        c. The decision of the warden or deputy secretary or designee is final.

Your housing needs are being investigated with a current status of Other Security Risk
pending transfer. You need for a single cell have been notated and being honored. If there are
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MEMO




      DATE:    11/27/2022                        (\\

         TO:   Bellamy, Ronnie# 5 3 4 ~ ~ \ j
                                         .   ~
     FROM:     Chandler Cheeks Warden

 SUBJECT:      Grievance # AA202306~1



Finding of the Facts: Your grievance was received and an investigation into your allegations
has been completed.

Conclusions Made: After a thorough review of all applicable documentation, it was
determined that the response provided by UTM Latzke, and Opliger was appropriate.

You are not allowed to grieve the Classification decision making process per KAR 44-15-101.

KAR 44-15-101 (a)(d)(2) states "the grievance procedure shall not be used in any way
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